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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                           SOUTHERN DIVISION


AMERICAN FEDERATION OF                        Case No. 8:25-cv-00430
TEACHERS, et al.,

            Plaintiffs,

      vs.

SCOTT BESSENT, et al.,

            Defendants.


                 DECLARATION OF SARAH TAMMELLEO

I, Sarah Tammelleo, declare as follows:

  1.​ I am over the age of 18 and have personal knowledge of the facts in this
      declaration.

  2.​ I am the Senior Director of Research and Strategic Initiatives for the
      American Federation of Teachers. In my role I oversee the national union’s
      Research Strategic Initiatives and Economic issues department which is
      responsible for AFT’s work related to research and economic issues
      including but not limited to, student debt, consumer issues, wages,
      healthcare benefits, and retirement security.

  3.​ The American Federation of Teachers is a national labor organization
      headquartered in Washington, D.C., representing over 1.8 million members
      who are employed as pre-K through 12th-grade teachers, early childhood
      educators, paraprofessionals and other school-related personnel; higher
      education faculty and professional staff; federal, state, and local government
      employees; and nurses and other healthcare professionals.


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4.​ For over a decade, AFT has been fighting to help teachers and nurses
    burdened by student debt receive Public Service Loan Forgiveness (“PSLF”)
    through the Department of Education. The national union has hosted
    hundreds of student debt clinics for tens of thousands of its members and has
    helped its members apply for relief through the PSLF program. In addition,
    AFT assists its members in applying for and securing payment of various
    federal employment, disability, and retirement benefits. For example, many
    local affiliates offer clinics and webinars to advise members how to obtain
    and file for benefits including but not limited to, Medicare and Social
    Security.

5.​ Because part of the process by which member teachers and nurses apply for
    federal loans, benefits, and employment involves sharing members’ personal
    data, AFT also advocates for the ethical use of artificial intelligence and
    enforcement of government regulations that protect its members’ personal
    data. Stated differently, as part of AFT’s mission and purpose of supporting
    educators who interface with the federal government, AFT advocates for the
    protection and safeguarding by various federal agencies and departments of
    AFT members’ personal data. For example, AFT has been working with an
    external organization to train leaders and members to secure and protect
    data, and AFT offers cyber insurance through the union’s extensive national
    member benefits program.

6.​ I am aware of and can identify individual AFT members who have federal
    student loan debt, and/or are federal employees, and/or who have records
    housed within OPM and Department of Education records systems and
    receive payments from the United States Treasury. Specifically, I am aware
    of individual members with personally identifiable information contained in
    the payment systems of Treasury's Federal Disbursement Services; in the
    federal work files of OPM, including USAJOBS and the Electronic Official
    Personnel Folder, among others; and in the Department of Education’s
    National Student Loan Data Systems, Common Origination and
    Disbursement System, FUTURE ACT System, and Financial Management
    System.

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    7.​ I am aware that sensitive information about AFT members is contained in
        these record systems, including Social Security numbers, bank account
        numbers, details of personal finances, and personnel information. Improper
        disclosure of this information increases the risk of access by external actors,
        doxxing, identity theft, invasion of personal privacy, and financial crimes
        against AFT members. Introducing sensitive personal data into artificial
        intelligence systems enhances these risks.

    8.​ I am not aware of any AFT member who has requested or authorized DOGE
        or its representatives to access their personal data.

    9.​ I am aware of and can identify individual members whose right to privacy
        has been violated by such disclosures.

    10.​ I am aware of and can identify individual federal employee members who
         received an email from OPM on their federal agency account with the
         subject “Fork in the Road,” detailing a plan for federal employees to
         immediately resign their positions.

    11.​ I have personally heard from student loan borrower members who are
         concerned about the risks to their privacy and data security posed by
         unvetted and unqualified people associated with DOGE going through their
         personal and financial data.

I declare under penalty of perjury that the foregoing is true and correct.

Executed: February 12, 2025

                                                   ____________/s/*____________
​       ​     ​      ​      ​     ​        ​       Sarah Tammelleo

*Counsel hereby certifies that he has a signed copy of the foregoing document
available for inspection at any time by the court or a party to this action.



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